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UNITED STATES DISTRICT COURT FOR THE | OCT 2 9 2024
SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON GRAND JURY 2024
OCTOBER 29, 2024 SESSION

UNITED STATES OF AMERICA

Vv. criminan No. 2: 24-cr-col73
18 U.s.c. § 1708

BRICE ALLEN POMEROY

INDICTMENT

The Grand Jury Charges:

On or about May 11, 2023, at or near Charleston, Kanawha
County, West Virginia, within the Southern District of West
Virginia, defendant BRICE ALLEN POMEROY, while employed for a
United States Postal Service vendor, knowingly bought, received,
and concealed, and unlawfully had in his possession, any letter,
postal card, package, bag, and mail, and any article or thing
contained therein, which had been so stolen, taken, embezzled, and
abstracted, when he then knew the same to have been stolen, taken,
embezzled, and abstracted.

In violation of Title 18, United States Code, Section 1708.
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FORFEITURE
1. The allegations contained in this Indictment are hereby
realleged and incorporated by reference for the purpose of alleging
forfeitures pursuant to Title 18, United States Code, Section
981(a) (1) (C) and Title 28, United States Code, Section 2461.
2. Pursuant to 18 USC § 981(a) (1) (c) and 28 USC § 2461, and
upon conviction of an offense in violation of 18 U.S.C. § 1708,
defendant BRICK ALLEN POMEROY, shall forfeit to the United States
of America all property, real or personal, involved in the offense
and any property traceable to such property. The property to be
forfeited includes, but is not limited to, a sum of money equal to
$2,051.21, more or less, for which sum the United States will seek
the entry of a judgment.
3. If any of the property described above, as a result of
any act or omission of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with,
a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property, which cannot
be divided without difficulty,
the United States of America shall be entitled to forfeiture of

substitute property pursuant to 21 U.S.C. § 853(p), as incorporated

by 28 U.S.C. § 2461(c).
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All pursuant to 18 U.S.C. § 981(a) (1) (C) and 28 U.S.C. § 2461.

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